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                    Exhibit C
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELWARE

    In re:                                              Chapter 11

    YELLOW CORPORATION, et al.1,                        Case No. 23-11069 (CTG)

             Debtors.                                   Jointly Administered

                                                        Ref. No. __

    ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO
             THE EXTENT OFLIABILITY INSURANCE PROCEEDS

          Upon consideration of the Motion of Tena J. Spence for Relief from the Automatic Stay

(the “Motion”), the Court having determined that good and adequate cause exists for approval of

the Motion, and the Court having determined that no further notice of the Motion is necessary,

and for the reasons set forth on the record, it is hereby

          ORDERED THAT, the Motion is granted;

          ORDERED THAT, the automatic stay of 11 U.S.C. § 362(d) of the Bankruptcy Code is

immediately terminated as to Movant Tena J. Spence to permit Movant to take appropriate action

described as follows:

                   a.     To prosecute her Claims to final judgment or other resolution; and

                   b.     To collect from any available insurance policy proceeds on account of any

                          judgment or other resolution.

          ORDERED THAT, nothing in this Order shall permit any party to take any other action

without further order of this Court.




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 511500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.


{01943482;v1 }
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          ORDERED THAT, notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3),

this order is effective immediately, and is further

          ORDERED THAT, that this Order shall be fully effective and enforceable immediately

upon entry.




{01943482;v1 }
